Case 21-30085-hdh11 Doc 208 Filed 02/22/21                  Entered 02/22/21 17:29:30           Page 1 of 8



    Gerrit M. Pronske                                     James Sheehan
    State Bar No. 16351640                                Pro Hac Vice
    Eric M. Van Horn                                      Emily Stern
    State Bar No. 24051465                                Pro Hac Vice
    Jason P. Kathman                                      Monica Connell
    State Bar No. 24070036                                Pro Hac Vice
    SPENCER FANE LLP                                      Stephen Thompson
    2200 Ross Avenue, Suite 4800 West                     Pro Hac Vice
    Dallas, TX 75201                                      OFFICE OF THE ATTORNEY GENERAL
    (214) 750-3610 – Telephone                            OF THE STATE NEW OF NEW YORK
    (214) 750-3612 – Telecopier                           28 Liberty Street
    -and-                                                 New York, NY 10005
    5700 Granite Parkway, Suite 650                       (212) 416-8401 – Telephone
    Plano, TX 75024                                       Email: James.Sheehan@ag.ny.gov
    (972) 324-0300 – Telephone                            Email: Emily.Stern@ag.ny.gov
    (972) 324-0301 – Telecopier                           Email: Monica.Connell@ag.ny.gov
    Email: gpronske@spencerfane.com                       Email: Stephen.Thompson@ag.ny.gov
    Email: ericvanhorn@spencerfane.com
    Email: jkathman@spencerfane.com                       COUNSEL FOR THE PEOPLE OF
                                                          THE STATE OF NEW YORK, BY
    COUNSEL FOR THE PEOPLE OF                             LETITIA JAMES, ATTORNEY GENERAL
    THE STATE OF NEW YORK, BY                             OF THE STATE OF NEW YORK
    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                §
                                                      §     CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §     CHAPTER 11
                                                      §
                  Debtors. 1                          §     Jointly Administered


             THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING
                   ON MOTION FOR APPOINTMENT OF EXAMINER




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
Case 21-30085-hdh11 Doc 208 Filed 02/22/21                    Entered 02/22/21 17:29:30           Page 2 of 8




TO THE HONORABLE HARLIN D. HALE,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

          The People of the State of New York, by Letitia James, Attorney General of the State of

New York (“NYAG”), a party in interest in the above-referenced bankruptcy case, submits this

motion (the “Motion”) for entry of an order substantially in the form attached hereto as Exhibit

A, continuing the hearing on the Motion for Appointment of an Examiner (the “Examiner

Motion”)[Docket NO. 1114] until after the hearing on the NYAG’s Motion to Dismiss, or, in the

Alternative, to Appoint a Chapter 11 Trustee (the “NYAG Dismissal Motion”)[Docket Nos. 155

and 163] and Ackerman McQueen Inc.’s (“AMc”) Motion to Dismiss the Chapter 11 Bankruptcy

Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee, and Brief in

Support (the “AMc Dismissal Motion”)[Docket No. 131].2 In support of the Motion, the NYAG

respectfully states as follows:

                                              BACKGROUND

          1.       On January 15, 2021 (the “Petition Date”), the National Rifle Association of

America, Inc. (the “NRA”) and Sea Girt LLC (“Sea Girt” and together with the NRA, the

“Debtors”) filed their voluntary petitions for bankruptcy under chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”).

          2.       On February 4, 2021, the Official Committee of Unsecured Creditors (the

“Committee”) was appointed by the United States Trustee.

          3.       On February 8, 2021, without conferring with any other parties in the case other

than the Debtors, Phillip Journey (“Journey”) filed his Motion for Appointment of Examiner (the

“Examiner Motion”)[Docket No. 114]. The Examiner Motion is based largely upon facts and

allegations alleged in the NYAG’s enforcement complaint (the “NYAG Enforcement


2
    Collectively the NYAG Dismissal Motion and AMc Dismissal Motion are referred to as the “Dismissal Motions.”

THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 1
Case 21-30085-hdh11 Doc 208 Filed 02/22/21           Entered 02/22/21 17:29:30        Page 3 of 8




Complaint”) filed in the Supreme Court of the State of New York. The Examiner Motion is

currently set for hearing on March 9, 2021.

       4.      On February 10, 2021, AMc filed the AMc Dismissal Motion.

       5.      On February 12, 2021, the NYAG filed the NYAG Dismissal Motion.

       6.      The Court originally set aside three days for the hearing on the AMc Dismissal

Motion [Docket No. 150], beginning on March 29, 2021 at 10:30 a.m. (prevailing Central Time).

       7.      Counsel for the NYAG conferred with counsel for AMc and the Debtors and the

parties all agree that judicial economy and resources will be best served by hearing the Dismissal

Motions together at the same hearing. Accordingly, the NYAG requested from the Court’s staff,

and received, three additional days in which the Dismissal Motions will be heard, and thus the

Dismissal Motions are now collectively scheduled to be heard March 29-31, and April 5-7.

       8.      In addition to conferring on the trial settings, counsel for the NYAG, AMc and the

Debtors have been working together on an agreed discovery schedule, and the NYAG expect to

be filing in the near future a joint motion seeking entry of a court order approving an expedited

discovery schedule related to the Dismissal Motions (the “Discovery Schedule Motion”).

       9.      Prior to filing the Motion, counsel for the NYAG and AMc conferred with counsel

for Journey regarding the relief requested in the Dismissal Motions, and consolidating hearings on

the Examiner Motion and the Dismissal Motions. Journey’s counsel responded that they would

not agree to change the March 9 hearing.

                              ARGUMENT AND AUTHORITY

       A.      Judicial Economy and Resources are Best Served by Litigating the Examiner
               Motion After the Dismissal Motions, or at a Minimum, at the Same Time.

       10.     The Examiner Motion is based predominantly on the facts alleged in the Dismissal

Motions, which reference many of the facts that underpin the NYAG Enforcement Action. Indeed,


THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 2
Case 21-30085-hdh11 Doc 208 Filed 02/22/21                      Entered 02/22/21 17:29:30              Page 4 of 8




the Examiner Motion attaches a copy of the NYAG’s Enforcement Complaint and fifteen (15) of

the Examiner Motion’s eighteen (18) background paragraphs directly relate to allegations raised

in the Dismissal Motions, with six (6) of the eighteen (18) paragraphs directly citing the NYAG

Enforcement Action.3 Rather than litigate the same issues in multiple different contexts in multiple

different hearings, all of the issues raised in the Dismissal Motions and the Examiner Motion

should be tried together. As noted above, counsel the NYAG, AMc and the Debtors have all agreed

to a discovery schedule and trial dates on the Dismissal Motion to occur March 28-31 and April

5-7.

         B.       The NYAG and AMc Will be Prejudiced if the Examiner Motion is Heard on
                  March 6.

         11.      Similarly, because the factual issues underlying the request for the Examiner

Motion are the same as the facts underlying the Dismissal Motions, the NYAG (and AMc or any

other party who may seek to file their own dismissal or trustee motion or join the Dismissal

Motion)4 will be prejudiced if the hearing on the Examiner Motion is permitted to go forward on

March 9. More specifically, because the issues to be tried overlap, the NYAG and other parties

will necessarily be required to participate in a premature hearing on the Examiner Motion to avoid

potential issue preclusion and law of the case effects on the Dismissal Motions hearings. The

parties to the Dismissal Motions (including the Debtors) have already conferred and determined

that six days of Court time may be necessary for the matters raised in the motions. To force the



3
  Of the five paragraphs that do not directly relate to allegations raised in the Dismissal Motions, one of those
paragraphs describes Judge Journey’s background as a judge, with the NRA, and the Kansas Rifle Association, and
another paragraph merely states when the Debtors filed their petitions. See Examiner Motion at ¶¶ 3-4. As such, only
three paragraphs in the background section of the Examiner Motion raise issues not otherwise raised and addressed in
the Dismissal Motions. See Examiner Motion at ¶¶ 18-20.
4
  The NYAG notes that at least one party has already filed a joinder to the relief requested in the Dismissal Motions.
See Christopher W. Cox’s Joinder to (I) The Motions to Dismiss or, in the Alternative, to Appoint a Chapter 11 Trustee
Filed by Ackerman McQueen, Inc. and The State on New York, or (II) The Motion of Phillip Journey for Appointment
of an Examiner. [Docket No. 172].

THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 3
Case 21-30085-hdh11 Doc 208 Filed 02/22/21                    Entered 02/22/21 17:29:30             Page 5 of 8




NYAG and others to potentially litigate the same issues in the limited amount of time requested

by Journey would be prejudicial and not serve the best interest of creditors.

        C.       The Dismissal Motions Should be Heard First.

        12.      In the event the Court dismisses the case, or appoints a chapter 11 trustee, the relief

requested in the Examiner Motion would be moot. Alternatively, if the Court appoints an examiner,

and then three weeks later dismisses the case or appoints a trustee, the premature appointment of

an examiner will have created an unnecessary administrative expense.5 As such, the Court should

hold a hearing on the Dismissal Motions, and then, if it denies the relief requested in the Dismissal

Motions, determine whether an examiner is appropriate or necessary.

        13.      The Bankruptcy Code’s statutory scheme reinforces a continuance of the hearing

on the Examiner Motion. Section 1112 provides, in pertinent part, “after notice and a hearing [on

a motion to dismiss], the Court shall…dismiss a case…for cause unless the court determines that

the appointment under section 1104(a) of a trustee or an examiner is in the best interests of

creditors and the estate.” 11 U.S.C. § 1112(b)(1). Further, as noted above, Section 1112(b)(3)

generally requires that the bankruptcy court commence the hearing on a motion to dismiss under

section 1112 within thirty (30) day of the filing of the motion, and to decide the motion within

fifteen (15) days. See 11 U.S.C. § 1112(b)(3). Likewise, under section 1104, the Bankruptcy Code

states “If the Court does not order the appointment of a trustee under this section…on request of a

party in interest or the United States trustee, and after notice and a hearing [on the request for an

examiner], the Court shall order the order the appointment of an examiner to conduct such an



5
  To the extent Journey or any other party attempts to argue that the Examiner Motion should be heard, and then the
Dismissal Motions be delayed pending the report required by an examiner, the Bankruptcy Code prohibits such delay.
See 11 U.S.C. § 1112(b)(3)(“The court shall commence the hearing on a motion under this subsection not later than
30 days after filing of the motion, and shall decide the motion not later than 15 days after commencement of such
hearing, unless the movant expressly consents to a continuance for a specific period of time, or compelling
circumstances prevent the court from meeting the time limits established by this paragraph.”).

THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 4
Case 21-30085-hdh11 Doc 208 Filed 02/22/21              Entered 02/22/21 17:29:30         Page 6 of 8




investigation….” 11 U.S.C. § 1104(c). Taken together, the three statutes set forth a statutory

scheme for the procedural order of the three types of motions/relief—dismissal, trustee, examiner.

Where a motion to dismiss is filed under section 1112, the bankruptcy court is required to

determine first, whether cause exists, and if so, second, whether dismissal or a trustee under section

1104 is in the best interest of creditors. Section 1104 then distinctly states “[i]f the Court does not

order the appointment of a trustee under this section” then the Court shall appoint an examiner

after notice and a hearing of the requisite elements are met. Put differently, Section 1104 expressly

contemplates that if a trustee motion is pending, the Court will first determine whether a trustee

should be appointed (i.e., “if the Court does not order” indicates that the Court has considered the

request for appointment of a trustee). Because appointing an examiner that may be mooted three

weeks later with a dismissal or appointment of a trustee would potentially create an unnecessary

administrative expense, and is counter to the statutory framework enacted in the Bankruptcy Code,

the Court should continue the hearing on the Examiner Motion.

       WHEREFORE, the NYAG respectfully requests the Court enter an Order (i) continuing

the hearing on the Examiner Motion until after the hearings on the Dismissal Motions, or at a

minimum, continuing the hearing on the Examiner Motion to be heard simultaneously with the

Dismissal Motions, and (ii) granting the NYAG such other and further relief, at law or equity, to

which the NYAG may be entitled.

                                  [--- intentionally left blank --- ]




THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 5
Case 21-30085-hdh11 Doc 208 Filed 02/22/21   Entered 02/22/21 17:29:30    Page 7 of 8



Dated: February 22, 2021.               Respectfully submitted,

                                         /s/ Jason P. Kathman
                                         Gerrit M. Pronske
                                         State Bar No. 16351640
                                         Eric M. Van Horn
                                         State Bar No. 24051465
                                         Jason P. Kathman
                                         State Bar No. 24070036
                                         SPENCER FANE LLP
                                         2200 Ross Avenue, Suite 4800 West
                                         Dallas, Texas 75201
                                         (214) 750-3610 – Telephone
                                         (214) 750-3612 – Telecopier
                                         -and-
                                         5700 Granite Parkway, Suite 650
                                         Plano, Texas 75024
                                         (972) 324-0300 – Telephone
                                         (972) 324-0301 – Telecopier
                                         Email: gpronske@spencerfane.com
                                         Email: ericvanhorn@spencerfane.com
                                         Email: jkathman@spencerfane.com

                                                – And –

                                         James Sheehan
                                         (NY Bar No. 4552055)
                                         Emily Stern
                                         (NY Bar No. 2647220)
                                         Monica Connell
                                         (NY Bar No. 3070943)
                                         Stephen Thompson
                                         (NY Bar No. 5390067)
                                         OFFICE OF THE ATTORNEY GENERAL
                                         OF THE STATE OF NEW YORK
                                         28 Liberty Street
                                         New York, NY 10005
                                         (212) 416-8401
                                         Email: James.Sheehan@ag.ny.gov
                                         Email: Emily.Stern@ag.ny.gov
                                         Email: Monica.Connell@ag.ny.gov
                                         Email: Stephen.Thompson@ag.ny.gov

                                         COUNSEL FOR THE PEOPLE OF
                                         THE STATE OF NEW YORK, BY
                                         LETITIA JAMES, ATTORNEY GENERAL
                                         OF THE STATE OF NEW YORK



THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 6
Case 21-30085-hdh11 Doc 208 Filed 02/22/21            Entered 02/22/21 17:29:30       Page 8 of 8




                             CERTIFICATE OF CONFERENCE

       Counsel for AMc and NYAG previously conferred with counsel for Journey regarding a
request to have the Examiner Motion heard together with the Dismissal Motions, and Journey’s
counsel communicated that he was opposed to such request. The undersigned again conferred with
Jermaine Watson, counsel for Journey, on February 19, 2021, regarding the relief requested herein,
and Mr. Watson communicated that Journey was opposed to the relief requested herein.

                                                     /s/ Jason P. Kathman
                                                     Jason P. Kathman


                                CERTIFICATE OF SERVICE

        I hereby certify that on February 22, 2021, a true and correct copy of the foregoing Motion
was served upon all parties entitled to notice, including the Debtors, United States Trustee, and
Official Committee of Unsecured Creditors via the Court’s electronic transmission facilities. Any
further methods of service will be reflected in a supplemental certificate of service.

                                                     /s/ Jason P. Kathman
                                                     Jason P. Kathman




THE STATE OF NEW YORK’S MOTION TO CONTINUE HEARING ON MOTION TO APPOINT
EXAMINER – PAGE 7
